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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                           MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                  SECTION N-4
                                                              JUDGE ENGELHARDT
                                                              MAG. JUDGE ROBY

                      THIS DOCUMENT IS RELATED TO ALL CASES

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            DECLARATION OF HENRY T. MILLER

       Henry T. Miller, based upon good faith belief, knowledge and information hereby declare

the following:

       1.        I am an active member in good standing of the Bar of the District of Columbia,

Bar No. 41885, and an inactive member in good standing of the Bar of the State of Arizona, Bar

No. 011267. I am employed as a Senior Trial Counsel, Torts Branch, Civil Division, United

States Department of Justice, Washington, D.C., and have been assigned as lead counsel to

represent the Defendant United States of America in above captioned action. I have also been

assigned as lead counsel to represent the Defendant United States of America in the following

underlying actions that have been consolidated, or in all likelihood, will be consolidated in this

multi-district litigation matter: (1) Oldenburg v. United States, Civ. No. 07-2961 (E.D. La.), (2)

Curley v. United States, Civ. No. 07-7389 (E.D. La.); and (3) Joseph v. United States, Civ. No.

2:08-CV-01672 (E.D. La.).

       2.        Exhibit 1 constitutes true and accurate excerpts from the White House, The

Federal Response to Hurricane Katrina (February 2006). That report was prepared by Frances

Fragos Townsend, Assistant to the President for Homeland Security and Counterterrorism.
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       3.     Exhibit 2 constitutes true and accurate excerpts from the Louisiana Recovery

Authority, The Rita Report: A Summary of the Social and Economic Impact and Recovery of

Southwest Louisiana One Year After Hurricane Rita. That report was prepared by the Louisiana

Recovery Authority.

       4.     Exhibit 3, is a true and accurate copy of Federal Register Notices.

       5.     Exhibit 4 constitutes true and accurate copy of the April 26, 2007, FEMA, Fact

Sheet: Providing Continued Assistance for Gulf Coast Hurricane Victims, Release Number HQ-

07-042.

       6.     Exhibit 5 constitutes true and accurate excerpts from the Department of Homeland

Security, A Performance Review of FEMA’s Disaster Management Activities In Response To

Hurricane Katrina (March 2006). That report was prepared by the Office of Inspections and

Special Reviews.

       7.     Exhibit 6, is a true and accurate copy of Federal Register Notices.

       8.     Exhibit 7 constitutes true and accurate copy of the April 9, 2008, FEMA, Fact

Release No. 1603-781, FEMA Infrastructure Funds Surpass $10 Billion Mark For Gulf Coast

Recovery.

       9.     Exhibit 8 constitutes a true and accurate copy of the Declaration of Kevin Souza.

       10.    Exhibit 9, constitutes a true and accurate copy of excerpts from 49 Federal

Register 31996 (August 9, 1984).

       11.    Exhibit 10 constitutes a true and accurate copy of the Declaration of Bryan

McCreary.

       12.    Exhibit 10-A is a true and accurate copy of spreadsheet that summarizes contracts


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that were issued by FEMA to purchase EHUs to provide temporary emergency housing for

Katrina and Rita disaster victims.

          13.   Exhibit 10-B is a true and accurate copy of a contract and associated documents

issued by FEMA to purchase manufactured homes "off the lot", i.e., mobile homes, for Hurricane

Katrina and Rita disaster victims.

          14.   Exhibit 10-C is a true and accurate copy of a contract and associated documents to

purchase travel trailers "off the lot" from vendors for Hurricane Katrina and Rita disaster victims.

          15.   Exhibit 10-D is a true and accurate copy of a contract and associated documents

issued by FEMA to a manufacturer and/or contractor for purpose of purchasing travel trailers for

Hurricane Katrina and Rita disaster victims.

          16.   Exhibit 10-E is a true and accurate copy of a contract and associated documents

issued by FEMA for the purpose of purchasing park model trailers for Hurricane Katrina and

Rita disaster victims.

          17.   Exhibit 10-F constitute a true and accurate copy of a contract and associated

documents issued by FEMA for the purpose of purchasing mobile homes from contractors and/or

manufacturers for Hurricane Katrina and Rita disaster victims.

          18.   Exhibit 11 constitutes a true and accurate copy of the Declaration of Stephen C.

Miller.

          19.   Exhibit 11-A constitute a true and accurate copy of FEMA Form 90-13.

          20.   Exhibit 12 constitutes a true and accurate copy of the declaration of Clifford

Oliver.

          21.   Exhibit 13 constitutes a true and accurate copy of February 12, 2008, FEMA


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Release No. HQ-08-002b, FEMA’s Ongoing Response To Formaldehyde.

       22.    Exhibit 14 constitutes a true and accurate copy of April 9, 2008, FEMA, GRCO

Individual Assistance Global Report Executive Summary.

       23.    Exhibit 15, constitutes a true and accurate copy of February 1, 2007, ATSDR,

Health Consultation Report.

       24.    Exhibit 16, constitutes a true and accurate copy of excerpts from July 1999,

ATSDR, Toxicological Profile for Formaldehyde.

       25.    Exhibit 17, constitutes a true and accurate copy of OSHA test results obtained by

FEMA on or about March 21, 2006.

       26.    Exhibit 18, constitutes a true and accurate copy of the July 19, 2007, Statement of

R. David Paulison, Administrator, FEMA.

       27.    Exhibit 19, constitutes a true and accurate copy of FEMA Memorandum relating

to OSHA Sampling Information.

       28.    Exhibit 20, constitutes a true and accurate copy of May 31, 2006, FEMA

Memorandum, Formaldehyde Statistics.

       29.    Exhibit 21, constitutes a true and accurate copy of June 2006, FEMA E-Mail

Correspondence.

       30.    Exhibit 22, constitutes a true and accurate copy of July 2006, Important

Information for Travel Trailer Occupants.

       31.    Exhibit 23, constitutes excerpt from a true and accurate copy of October 2007,

ATSDR, Revised Health Consultation Report.

       32.    Exhibit 24, constitutes a true and accurate copy of July 20, 2007, FEMA Release


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Number FNF-07-028, Formaldehyde And Travel Trailers.

       33.     Exhibit 25, constitutes a true and accurate copy of July 20, 2007, FEMA Release

Number HQ-07-143, Statement of Administrator R. David Paulison.

       34.     Exhibit 26, constitutes a true and accurate copy of July 2007, FEMA, Important

Formaldehyde Information for FEMA Housing Occupants.

       35.     Exhibit 27, constitutes a true and accurate copy of January 17, 2008, FEMA

Release Number HQ-08-007, FEMA Announces Refunds for Travel Trailers Purchased By

Disaster Occupants and Through GSA Sales and related documents.

       36.     Exhibit 28, constitutes a true and accurate copy of November 8, 2007, FEMA

Release Number HQ-08-222, Myths & Facts: Travel Trailers.

       37.     Exhibit 29, constitutes a true and accurate copy of February 14, 2008,

FEMA/CDC Press Release of Results of Formaldehyde Level Tests.

       38.     Exhibit 30, constitutes a true and accurate copy of February 2008, FEMA/CDC

Flyer Re: Formaldehyde Levels in FEMA-Supplied Trailers.

       39.     Exhibit 31, constitutes excerpts from a true and accurate copy of Plaintiffs Pujol

and Plaintiffs Thomas Administrative Tort Claims.

       40.     Exhibit 32, constitutes a true and accurate copy of documents relating to

processing of, and Plaintiffs Pujol receipt of, disaster aid.

       41.     Exhibit 33, constitute a true and accurate copy of documents relating to processing

of, and Plaintiffs Thomas receipt of, disaster aid.

       42.     Exhibit 34, constitutes a true and accurate copy of November 14, 2007, EPA,

Basic Information Formaldehyde.


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       43.     Exhibit 35, constitutes a true and accurate copy of ATSDR, Minimal Risk Levels

(MRLs) for Hazardous Substances.

       44.     Exhibit 36, constitutes a true and accurate copy of the March 4, 2008, Statement

of Harvey E. Johnson, Jr.

       45.     Exhibit 37, constitutes a true and accurate copy of August 22, 2006, FEMA

Release Number HQ-06-127, Hurricane Katrina, One-Year Later.

       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

Dated: May 18, 2008.


                                             //S// Henry T. Miller
                                             HENRY T. MILLER (D.C. Bar No. 411885)
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